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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA
         v.
                                                          Criminal Action No. 21-276-1 (CKK)
    CLIFFORD MACKRELL,
              Defendant


                           MEMORANDUM OPINION AND ORDER
                                   (April 3, 2023)

        Before the Court is Defendant’s [53] Motion for Transfer of Venue. Like myriad other

defendants in January 6th cases, Defendant requests that the Court transfer this case to another

district court, arguing that no impartial petit jury can be seated in this jurisdiction. Every single

court of this jurisdiction has rejected at least one such request, 1 including this Court. 2 In its prior

opinions, this Court has already rejected the vast majority of Defendant’s arguments, and shall

simply incorporate by reference its prior reasoning herein. See United States v. Eicher, Crim. A.

No. 22-038 (CKK), 2022 WL 11737926 (Oct. 20, 2022); United States v. Chwiesiuk, Crim. A. No.

21-536 (CKK), 2023 WL 2562517 (Mar. 17, 2023). The only issue this Court has yet to address

is the effect of certain polls of District of Columbia residents regarding their feelings on individuals

charged with criminal offenses arising from the insurrection of January 6th. ECF Nos. 53-1, 53-

2.




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  E.g., United States v. Nassif, Crim. A. No. 21-421 (JDB), 2022 WL 4130841 (D.D.C. Sept. 12,
2022); United States v. Brock, --- F. Supp. 3d ---, 2022 WL 3910549, at *5-6 (D.D.C. Aug. 31,
2022) (JDB) United States v. Garcia, Crim. A. No. 21-0129 (ABJ), 2022 WL 2904352, at *15
(D.D.C. July 22, 2022); United States v. Bochene, 579 F. Supp. 3d 177, 181-82 (D.D.C. 2022).
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  E.g., United States v. Eicher, Crim. A. No. 22-038, 2022 WL 11737926 (Oct. 20, 2022);
United States v. Chwiesiuk, Crim. A. No. 21-536, 2023 WL 2562517 (Mar. 17, 2023).
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        These surveys are not new, and every court to address them has concluded that voir dire is

necessary before transferring a case due to alleged prejudice in a jury pool. E.g., United States v.

Rhodes, 610 F. Supp. 3d 29, 56-57 (D.D.C. 2022) (APM); United States v. Brock, --- F. Supp. 3d

---, 2022 WL 3910549, at *7 (D.D.C. Aug. 31, 2022) (JDB); United States v. Rhine, Crim. A. No.

21-687 (RC), 2023 WL 372044, at *4 (D.D.C. Jan. 24, 2023). For the reasons stated in those

decisions, the Court concludes the surveys cited again in this case do not warrant transfer. As this

Court has previously explained, relying wholesale on polling of uncertain methodological efficacy

regarding January 6th as a whole is not an appropriate substitute for voir dire. See United States

v. Haldeman, 559 F.2d 31, 64 n.43 (D.C. Cir. 1976). The Court will address the exact scope of

voir dire at a later time.

        Accordingly, and for the foregoing reasons, it is hereby

        ORDERED, that Defendant’s [53] Motion for Transfer of Venue is DENIED.

        SO ORDERED.


Dated: April 3, 2023                                      /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge




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